887 F.2d 1094
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Charles ANASTOS, Petitioner,v.UNITED STATES POSTAL SERVICE, Respondent.
    No. 89-3271.
    United States Court of Appeals, Federal Circuit.
    Sept. 8, 1989.Rehearing Denied Oct. 11, 1989.
    
      1
      Before NIES, Circuit Judge, BALDWIN, Senior Circuit Judge and MICHEL, Circuit Judge
    
    PER CURIAM
    Judgment
    AFFIRMED.  See Fed.Cir.Rule 36
    